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                                    EXHIBIT 7                                                 Mark Carlson
                                                                                                 2/22/2018

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    I                                                                                              Page 1

                     IN THE UNITED STATES DISTRICT COURT                                                    g
                          FOR THE DISTRICT OF MARYLAND                                                      3
                                                                                                            3
         CRYSTAL LONG,                               *




                             Plaintiff,                  *




               vs.                                  * Case No.

                                                    * 8:17-CV-1955-G_H

         PENDRICK CAPITAL                           *                                                       3

         PARTNERS II, LLC, et al.,                  *
                                                                                                            3
                             Defendants.            *                                                       3
                                                                                                            3

                       The     deposition of MARK CARLSON took                                              3
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         place on Thursday, February 22, 2018, beginning
                                                                                                            Q
                                                                                                            fr
         at 10:02 a.m., at the Law Offices of Marshall,

         Dennehey, Warner, Coleman & Goggin, 50 Glenmaura                                                   3
         National Boulevard, Moosic, Pennsylvania, before                                                   I
         Christine A. Messner, Court Stenographer and Notary

         Public in and for the State of Pennsylvania.



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         Reported by:                                        UE   §\
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                 Christine A. Messner                               4
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                             Al Betz & Associates, Inc.
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                                                                                                                   Mark Carlson
                                                                                                                         2/22/2018
                                                                                                        2    (Pages        2      to   5)
                                                           Page 2                                                              Page 4
     l       APPEARANCESz                                               l           PROCEED ING S
     2       On behalf of the Plaintiffi                                2

     3       INGMAR GOLDSON, ESQUIRE                                    3              STIPULATIONS
     4       The Goldson Law Office                                     4

     5       1734EltonRoad, Suite 210                                   5      Itwasagreed by and between counsel that all
     6       Silver Spring, Maryland20903                               6   objections, except as to the form of the question,
     7       240-780-8829                                               7   will be reserved until the time of trial.
     8       igoldson@go1dsonlawofficecom                               8        It was further agreed that the sealing and
     9                                                                  9   tiling of the deposition transcript will be waived.
    10       On behalf of the Defendant Ability Recovery Services:     10

    ll       RONALD m. METCHO, ESQUIRE                                      Whereupon --
    12       Marshall, Dennehey, Warner, Coleman & Goggin              12           MARK CARLSON was called, and having been
    13       2000 Market Street, Suite 2300                            13   duly swoin, was examined and testified as foilows:
    14       Philadelphia, Pennsylvania 19 I03                         14

    15       215-575-2595                                              15           EXAMINATION BY MR. GOLDSON:
    16       rmmetcho@mdwcg.com                                        16      Q. Hi, Mark.
    17                                                                 17      A. Good morning.
    18                                                                 18      Q. Good morning. Can you just state your
    19                                                                 19   name and address for the record*
    20                                                                 20      A. Stlre. Mark Carlson, 168 York Avenue,
    21                                                                 21   Duiyea, PA 18642.


                                                           P a ge 3                                                            Page 5
         I                1NDEX                                         I      Q, Thank you. Mark, have you ever been
     2             DE P O S ITIO N O F MAR K C AR LS O N                z   deposed before?
     3                 Fe brua ry22, 2018                               3      A. No.
     4       E XAMINATIO N BY:                     P AG E :             4       Q. Just a few baseline rules and
     5       Mr. Golds on .                 4444                        s   Mr. Metcho can add to this if you want to.
     6       Mr. Me tc h o .                ..30                        6          MR, METCI-IO: Sure.
     7                                                                  7   BY MR. GOLDSON:
     8       E XHIBIT:       DES CRIP TIO N:                P AG E :    8       Q. But l'm just going to ask that you
     9                                                                  9   allow me to finish my questions and if you start an
    10       I   Da ta Ma s ter progra m infoxm a tion .   ..18        10   answer, l'll allow you to finish your answer.
             2   De btor his toly re port .         .19                         A. Perfect.
    12                                                                 12       Q. Please respond verbally because our
    13                                                                 13   court reporter can't pick up head nods and other body
    14                                                                 14   movements. If you don't understand a question,
    15                                                                 15   please ask me to clarify rather than, you know, start
    16                                                                 16   an answer.
    17                                                                 17       A. Okay.
    18                                                                 18       Q. -- start answering a question that you
    19                                                                 19   don't fully understand.
    20                                                                 20            MR, GOLDSON: Okay. Anything
»
    21                                                                 21      else?



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                                                                                                                                 3
     I           MR. METCHO: The only thing I                    l       Q,    Is your title just supervisor?
     2      would add -- thank you for the                       z       A.    Yes.
     3      oppoitunity to do that -- any                        3       Q.    Okay. When did you become supervisor?
    4       conversations that you and I have had                4       A.    Monday. Februaly, help me, what is the
     5      are protected by the attomey/client                  5   date, just this week.
     6      privilege. So if Mr. Goldson asks a                  6       Q.    I would like to congratulate you on
    7       question regarding something we have                 7   that.
     8       discussed in preparation for this                   8       A.    Thank you.
    9       deposition for instance, that's                      9            MR. METCHO: That would be the
    10      protected so you do not have to answer              10       21st, right?                                            3
            that question. And if that comes up,                             MR. GOLDSON: No, the 20th.
    12      I'll make sure to notify both opposing              12           THE WITNESS: 23rd is Friday.
    13      counsel and yourself that that may be an            13   B Y MR. GOLDSON:
    t4      issue.                                              14       Q,    Nineteenth?
    15          THE WITNESS: Certainly.                         15       A.    Nineteenth, there we go.
    16   BY MR. GOLDSON:                                        16            MR. METCHO: It's been a long
    17        Q, All right. Mr. Carlson, first I would          17       week.
    ls   like to go over your educational background. What's    is            THE W TTNESS: YoLt're right.
    19   the highest level of education you obtained?           19   B Y M R. GOLDSON:
    20        A. Icompleted some college.                       20       Q,    What were you before a supervisor?

I
    21      Q.    Some college?                                 21   What was your pos ition?                                    si
                                                       Page 7                                                     Page 9
     l                                                           s       A.   I was a collector.
              A. Yes.
     2                                                          2        Q. Collector. And when you started in
              Q . Where did you go to college?
     3        A . Lackawanna Area and Harrisburg Area            3   August2016 were you a collector?
     4    Community College.                                     4       A. Yes.                                                 q
                                                                                                                                 1.1




     5        Q . Okay. What did you study?                      5       Q, So let's go back to when you were a
     6        A . Business management.                           6   collector because that's more relevant to the
     7        Q . Business management. And do you               7    complaint at issue here.
     8    currently work at Ability Recovery Services?           8      A. Sure.
     9        A.    Yes, I do.                                  9       Q. When you were a collector, did you
    10        Q . How long have you worked there?               10   answer telephones when consumers or when people
              A . I worked since August of 2016, August         Il   called ARS --
    12    2nd to be exact.                                      12       A. Yes.
    13        Q , Okay. Are you on salary?                      13       Q. -- Ability Recovery Services?
    14        A. No.                                            14       A. Yes.
    15        Q . You get an hourly wage there?                 15       Q. About how many calls would you answer a
    16        A. I do.                                          16   day?
    17        Q . Okay. What is your hourly wage?               17      A.    OIT the topof my head, I would have to
    18        A . Cunently it is $12 per hour.                  18   assume about 200.
    19       Q . What is your position?                         19       Q. Tl\at's impressive. Did you make calls
    20        A . I am now a supervisor at Ability              20   as well?
    21    Recovery Services.                                    21       A. Yes.



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     I      Q.        About how many calls would you make a          I   Master will read the telephone number and
     2   day?                                                        2   automatically populate an account?
     3       A.    My answer would have been collective,             3       A.      If the account phone number identifies
     4   so somewhere around the neighborhood of 200 calls           4   a number in our database, that information will
     5   collectively, receiving and making.                         5   populate.
     6        Q. Okay. And would you say there's about               6        Q, Okay. Do you use any other computer
     7   an equal amount of calls made or?                           7   programs to access consumer account information?
     8        A. If I were to do the split, probably                 8        A. No.
     9   more outbound calls than inbound calls.                     9        Q, When a consumer calls and the account
    10        Q, How do you place the telephone calls?              10   is pulled up and on the computer system, whether
         Do you use a telephone or does a computer make the              automatically or whether you pull it up yourself,
    12   call for you?                                              12   what information is available to you?
    13       A.    The computer generates which has the             13             MR. METCHO: l'm going to object
    14   necessary data. There is phone numbers in each field       14       to the form of the question, but you can
    15

    16
         that identifies each specific debtor that allows me        15

                                                                    16
                                                                             answer ir if you are able.
                                                                                   THE WITNESS' Once again please
                                                                                                                                      3
         to select which phone number to utilize to best
    17   possibly get ahold of that individual.                     17       repeat.
    18       Q,    Okay. Is that the same computer                  18   BY MR. GOLDSON:
    :9   program that you use to pull up an account when            19        Q, When you pull up an account or when an
    20   somebody calls Ability Recovery Services?                  20   account is pulled up automatically, what information
    21       A.    Same system.                                     21   is available to you about the consumer?
1



                                                       Page 11                                                          Page l3
     I       Q,    Same system?                                      I       A.      Their address, their name, phone number
     2       A.    Yes, sir.                                         2   utilized. There may be a variety of phone numbers
     3       Q. What's the name of that computer                     3   within the system depending on the effectiveness of
     4   program?                                                    4   the skip tracing system that's used. What
     5       A. The Debt Master.                                     5   information is available, well, for some fields may
     6       Q. So just to clarify when somebody calls,              6   show Social Security numbers, phone numbers, date of
     7   you pull up their account using the Debt Master             7   births.
     8   computer program?                                           8        Q. Do you lcnow where that information
     9            MR. METCHO: l'm going to object                    9   comes from?
    10       to the form of the question. You can                   [0        A. No.
             answer if you are able.                                          Q. Where Ability gets that information?
    12            THE WITNESS: Can you repeat the                   12        A. I am not.
    13        question just for clarity?                            13        Q. You just referenced skip tracing, can
    14   BY MR. GOLDSON:                                            14   you explain how Ability skip traces?
    15        Q- Yeah. When a person calls Ability                  15        A. Ihave no idea.
    16   Recovery Services, is it your testimony that you will      16        Q. But it's your testimony that some of
    17   pnll up their account using the Debt Master computer       17   the information that is populated in that program
    18   system"                                                    18   comes from skip tracing?
    19        A. That information typically populates on            19        A. I've heard that terminology utilized
    20   my screen.
                                                                    20   within our field. That information is provided by a
    21       Q.   Okay. So when somebody calls, Debt
                                                                    21   client or provided by a service that is used to



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                                                                                          5 (Pages 14 to 17)
                                                    PdQ6' 14                                                  Paqe 1G
 I   identify consumer i|1t`onnation.                           I   it's some other program"
 2       Q, Do you have - do you know what that                 2         A. I have no idea.
 3   service is"                                                3         Q, So can you start recording"
 4       A. No.                                                 4         A. No.
 S       Q. Okay. At this time I'm going to play                9       Q, Can you stop recording?
 6   an audio clip.                                             6       A. No.
 7       A. Sure.                                               7       Q- Do you know whether or not Ability
 3       Q, It's a clip that Ability Recovery                   8   Recovery Services has the ability to edit a call
 9   Services sent the plaintiff that is purportedly you        9   after -.- edit a recording after a call is completed?
10   answering a call from the plaintiff in this case          lo            MR. METCHO: I'm going to object
     Crystal Long. I'm only going to play it for                        to the form, but you can answer the
12   identification purposes so you can identify whether       12       question,
13   or not it's you and that's it. So I'll play ten           13          TI-IE WITNESS: I've never heard of
14   seconds and we'll see if you can identify that is you     14      that.
15   on the call.                                              [5   BY MR. GOLDSON:
16       A. Sure.                                              16      Q. So is that a no?
17           (Whereupon an audio clip was                      17      A. That would be a no, my knowledge, no.
lb       played to the witness.)                               18          MR. GOLDSON: Counsel, I have an
19   BY MR. GOLDSON:                                           19      extra copy of this it you want it.
20        Q.       I saw you nod your head, that is you?       20          MR. METCHO: I would like to see
21        A.       That is me.                                 Z!       it. Mr. Goldson, this is the


                                                    Pdqe 1 J                                                  Page 1 /
 l        Q- Thank you. l'm going to get that out               l         documentation that was provided in
 2   of the way so my computer doesn't die here. All            2         discovery responses that came irom
 3   right. When you pick up a call, is that call               3         Pendrick, correct?
4    automatically recorded?                                    4              MR. GOLDSON: Ability actually
S        A. By answering that. I make the                       5         sent that.
0    assumption yes --                                          6              MR. METCHO: Ability sent it, but
 7       Q- Okay.                                               7         it was Pendrick's document that was sent
h        A.    -- because l'm never given audio                 8         to Ability?
9    infonnation. But we advise when anybody calls in           9              MR. GOLDSON: I have no --
10   that the call may be monitoied or iecorded.               10              IvIR. METCHO: Irecognize the
         Q-    O k ay.                                                    document, that's okay.
12       A.    And that's part of a mini Miranda that          12              THE WITNESS: Is this fOr me?
13   we utilize.                                               13    BY MR. GOLDSON:
14      Q. Okay. I think you might have partially              14          Q . Yes. Do you recognize that?
15   answered this next question. Do you know hon the          15          A. In paper format, no.
16   call is being recorded?                                   16         Q, Do you recognize it in any other
17         A. Do I know how?                                   17    format?
13      Q. Yeah.                                               18          A. No. I've just never seen this
19      A. In what sense?                                      19    utilized.
20      Q. For instance, do you know if it's the               20         Q,    Okay.
21   Debt Master computer program that's recording or if       21          A. No .



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I
                                                        Page 18                                                      Page 20
         1       Q.      Thank you.                                    l       Q~     Did you receive any training materials?
         2             MR. GOLDSON: We would like to                   2       A.     They are kept in binders at our
         3        mark that as a multipage exhibit.                    3   station.
         4             (Whereupon Exhibit l was marked                 4       Q, When was there a training specific to
         5        for identification.)                                 5   the Fair Credit Reporting Act that you received at
         6   BY MR. GOLDSON:                                           6   Ability Recovery Services?
         7        Q. Mr. Carlson, do you recognize that                7        A. We have ali received training at
         8   document?                                                 8   Ability Recoveiy Services that identifies each layer
         9        A. Paper version of what I would see on              9   of yourjob, what specific role that you have, access
        10   the screen on my workstation.                            10   to the specific documents, fair credit reporting
                  Q, And in the Debt Master program?                       practices, what's required for you to adhere to.
        :2        A. Yes.                                             12        Q. Is it your understanding that Ability
        13        Q. Okay. Thanks. So earlier when you                13   Recovery Services has no choice but to report an
        14   testified that you have access to the name, phone        14   account that it is collecting?
        15   numbers, Social Security numbers; is this what you       15             MR. METCHO: 1'm going to object
        16   see on the program?                                      16        to the foim of the question. Pm also
        17        A. This is the exact infonmation I would            17        going to object to the question on the
        18   have access to seeing.                                   18        basis of attorney/client privilege, but
        19       Q. Do you make these account activity                19        you can answer if you are able.
        20   comment notes?                                           20             THE WITNESS: Okay.
        2:       A. No.                                               21   BY MR. GOLDSON:
/

                                                       Page 19                                                       Page 21
         l        Q, S0 none of this data was entered by               I       Q,     Would you like me to repeat that?
         2   you?                                                      2       A.     Please.
         3        A. Allow me to look specifically to                  3       Q. Is it your understanding that Ability
         4   ensure. No, nothing on here indicates that I typed        4   Recovery Service has no choice but to report the
         5   or altered anything in this document.                     5   accounts that it is collecting to credit reporting
         6        Q- Okay. Thank you.                                  6   agencies?
         7             MR. GOLDSON: Mark this as two                   7       A. That I don't know.
         8        please.                                              8       Q, Are you saying you don't know whether
        9              (Whereupon Exhibit 2 was marked                 9   or not Ability Recovery Services is required to
        10        for identification.)                                10   report?
             BY MR. GOLDSON:                                                   A. I don't know what that process entails.
        12      Q. So sorry, just give me one second. Are             12       Q. Do you know when Ability Recovery
        13   you familiar with the Fair Credit Reporting Act or       13   Services reports accounts to a credit reporting
        14   FCRA?                                                    14   agency?
        15       A. For the most part I would imagine, yes.           15       A. I do not.
        16       Q. How did you become familiar with the              16       Q, Are you familiar with the Fair Debt
        17   Fair Credit Reporting Act?                               17   Collection Practices Act?
        18       A. Through training.                                 18       A. Iheard the terminology.
        19       Q. Through training with your current                19       Q. Did you receive any training on the
        20   employer Ability Recovery Services?                      20   Fair Debt Collection Practices Act?
        21       A. Yes.                                              21       A. I imagine I received training for my

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      I   role.                                                     I             Do you have the ability to determine
      2       Q. Did you receive any training                       2   for Ability Recovery Services that a caller does not
      3   materials -                                               3   in fact owe the money that the caller is calling
      4       A. I coL1ldn't recall.                                4   about?
      5       Q. Let me just linisll the question for the           5        A. Do 1 have a way to report that?
      6   record. Did you receive any training materials for        6        Q- Do you have the ability to determine
      7   the Fair Debt Practices Collection Act?                   7   for your employer that this caller does not owe the
      8        A. I couldn't recall.                                8   money?
      9       Q. Do you know what a trade line is?                  9        A. No.
     10       A. No.                                               10        Q. Okay. If you don't have that ability,
              Q, What would you call tile information                   who at Ability Recovery Services does have that
     12   that Ability Recovery Services reports to the credit     12   ability to determine that?
     13   reporting agencies?                                      13        A. That I don't know.
     14       A.    W hat would I call the information that        14        Q. Okay. Do you remember the call with
     15   Ability Recovery Services reports to?                    15   Crystal Long?
     16       Q.   Credit reporting agencies. Credit               16        A. I do.
     17   reporting agencies are Experian, Equifax, TransUnion,    17        Q. You do. Do you recall that she called
     18   those are the three major ones.                          18   for two accounts?
     19       A.    W hat they report to them?                     19        A. No, I don't recall.
     20       Q.    Yes.                                           20        Q. Okay.
I:
     21       A.   I wouldn't know what the tenninology            21        A. I would be going based on guessed


                                                         Page 23                                                  Page 25
      i   is, no, Iwouldn't.                                        I   memory. Idon't think I can specifically. Ifyou
      2        Q. For the purposes of this deposition I'm           2   can help me recall, perhaps that would be something.
      3   going to call that a trade line.                          3         Q. Okay. I'l| just show you two
      4        A. That's what's reported to the credit              4    collection letters that Ability Recovery Services
      5   repo1ting agency, that's what it's referred to it as?     5    sent to Crystal Long.
      6       Q. Yes.                                               6         A. Okay.
      7       A. Okay.                                              7         Q. And these are the accounts that she was
      8       Q. As far as you know can Ability Recovery            8   calling for. Actually let me just, to make it easier
      9   Services request that a credit reporting agency           9    this is the front of the pages.
     10   delete a trade line?                                     10         A. Okay.
              A. Delete a trade line, how so? 1don't               H          Q, So do you recall the plaintiff Crystal
     12   understand.                                              12   Long calling you about both of these accounts?
     13       Q- Okay.                                             13         A. I recall her calling me about her
     i4       A. Delete in what fashion, like?                     14   concem on receiving information hom us or how I
     15       Q. Delete, to make disappear.                        15   believe it is we're on her credit report.
     16       A. Just to say remove this?                          16        Q. Okay. For the record, one of these
     17       Q, Yes.                                              17   collection letters from Ability Recovery Services
     18       A. Not that I'm aware of                             [8   reflects a balance of $74 and the other collection
     19       Q. Do you have the ability to determine              19   letter shows a balance of $1,125. So when Crystal
     20   whether or not Ability Recovery Services -- or I'm       20   Long called you, were you able to resolve either of
1'   21   sorry, let me repeat the question.                       21   these accounts?

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         I        A. How so?                                         I       Q. Okay. Is that a part of your job now
         2        Q. By making the status of the account not         2   as a supervisor"
         3   collectible or determining she does not owe the         3       A. No.
         4   money.                                                  4        Q. Have you ever encountered any errors
         5        A. She called in to dispute the account            5   regarding whom an account belongs to?
         6   and it was placed under a dispute.                      6              MR. METCHO: i'm going to object
         7        Q. Were both accounts placed under a               7        to the fonm of the question. You can
         s   dispute?                                                8        answer if you are able.
         9        A. That I don't recall.                            9              THE WITNESS: How so?
        10       Q. Do you recall disputing both of these           10   BY MR. GOLDSON:
        II   accounts the same way?                                           Q. Let me try to.
        12        A. Idon't dispute any accounts any                12        A. If I may.
        13   differently.                                           13        Q, Sure.
        14        Q- Okay.                                          14        A. Someone will call in and sayI have a
        15        A. There's only one streamline process of         15   letter for an old tenant, they no longer live here,
        16   disputing an account.                                  16   so we'I| mark it as a bad address and simply close it
        17        Q. Okay. How does that work?                      17   as such, if that would help provide an example.
        18        A. If the individual says I dispute the           18        Q, Haveyou ever encountered any errors in
        19   validity of the account, I usually advise them         19   thesensethat a collectionletter was sent to
        20   proactively review the credit report and dispute it    20   somebody who doesn't actually owe that money?
        21   with the credit reporting agencies. I would label it   21        A. That, 1'm not aware of that.

                                                        Page 27                                                    Page 29
         I   as a disputed account that you're contesting the        I        Q. Okay. If a consumer calls and they
         2   validity of the balance or whatever the specific        2   dispute personal data information, do you have the
         3   reason is and just simply notate that within the        3   ability to change the personal data information that
         4   field and then proactively encourage them to dispute    4   Ability Recovery Services has in its system?
         5   with the bureaus as well.                               5        A. No.
         6        Q. Okay.                                           6        Q, Do you know who does have that ability
         7        A. So this information is then sent off to         7   at Ability Recovery Services?
         8   whoever reviews that, I don't know, it's beyond me.     8        A. I do not.
         9        Q. At Ability Recovery Services, when you          9        Q. Do you recall telling Crystal Long in
        10   say sent off, you mean --                              10   the phone call that she no longer had to pay the
                  A. I hit enter and once I close the -- I               smaller balance of $74?
        12   apologize I intemlpted you. Iclose the data, I         12        A. No longer had to pay, I don't recall
        13   just send off and it deletes it off ofmy screen.       13   that.
        14        Q. Okay. So with your position as a               14        Q. Do you know how Ability Recovery
        [5   collector you didn't have the ability to make a        15   Services' credit reporting process works after you
        16   determination for Ability Recovery Services that a     16   get a dispute call like the one from Crystal Long?
        17   caller docs not owe the money --                       17        A. No.
        18        A. No.                                            18        Q, As a collector what is your
        19        Q. -- and therefore she will not bc               19   understanding of your duty under the Fair Credit
    20       pursued with ally more calls or letters?               20   Reporting Act?
I                                                                   21        A. In terms of what?
        21        A. 1t's not my job.

    I



                                             A l Betz           Associates, Inc      o


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     l             MR. METCHO: I'm going ro object                l        A. I advised her to dispute her -- what
     2        to the question in tenns of ir could                2    she received or what she had identified with the
     3       potentially seek information that's                  3    credit reporting agencies.
     4       protected by the attomey/client                      4        Q. And as a result of that call, did you
     5       privilege. But you can answer the                    5    take any steps regarding notifying your company
     6        question if you are able to.                        6    Ability that Ms. Long disputed the account?
     7             THE WITNESS: I'm not sure what                 7        A. I followed procedure.
     8       you mean.                                            8        Q. What was the procedure?
     9   BY MR. GOLDSON:                                          9        A. I labeled the account as a dispute that
    10       Q, Okay. Let me rephrase. Earlier you               10   she had identified that she wasn't agreeing with, you
         testitied that you received Fair Credit Reporting Act        laiow, what we have in our office and labeled it as
    12   training. What did that training entail?                12   such and closed the tile.
    13       A. That I couk1n't recall off the top of            13        Q. Did you place any c8Ils to Ms. Long at
    14   my head to be quite honest with you. The Fair Credit    14   any point?
    15   Reporting Act as far as the information that -- Pm      15        A. No.
    is   drawing a biank to be quite honest.                     16        Q, Did you receive any other calls from
    17       Q. Okay. That's fine. I have nothing                17   Ms. Long other than the one that you received in
    13   further.                                                18   November of 2016?
    19                                                           19        A. No.
    20            EXAMINATION BY MR. METCHOz                     20        Q. Did you send any letters to Ms. Long?
    21       Q,    I would like to ask you a couple              21        A. No.


                                                   Page 31                                                      Page 33
     I   follow-up questions. You testified in November of        I        Q. Are you aware of any other individuals
     2   2016 you were a collector with Ability?                  2    at Ability having any other conversation with
     3        A. Yes.                                             3   Ms. Long?
     4        Q, Okay. And you also testified as per              4        A. No.
     5   the questions of counsel for plaintiff that you did      5        Q. Are you aware of any other individuals
     6   recall having a conversation with thc plaintiff in       6   at Ability placing any calls to Ms. Long?
     7   this matter Crystal Long?                                7        A. No.
     8        A. Yes.                                             8        Q. Are you aware of Ms. Long sending ally
     9        Q, And did you receive that call or did             9   letters to Ability disputing the debt 01° requesting
    10   you place that call?                                    10   validation of the debt?
              A. I received that call.                                     A. No.
    12        Q, Okay. And just in a general sense in a          12        Q, I have nothing further.
    13   summary, what was discussed during that call?           13             MR. GOLDSON: I have nothing
    14        A. She was concemed about information              14        furthereither. Thank you.
    15   that had appeared on her credit report or letters       15             (Whereupon the deposition was
    16   that she received from us stating that she owed a       16              concluded at 10:31 am.)
                                                                 17
    17   balance.
                                                                 18
    18        Q, And did you make any recommendations to
                                                                 19
    19   Ms. Long during that conversation?
                                                                 20
    20        A. I did.
»                                                                21
    21        Q. What was your recommendation?


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     I          CERTIFICATE                                     l   Dear Sir or Madam:
                                                                                                                         9
                                                                                                                         3
     2                                                          2
                                                                                                                         8
     3
     4
             I, Christine Messner, a Notary Public in and
         for Wyoming County, Pennsylvania, do hereby certify
                                                                3
                                                                4
                                                                           Bound herewith is the transcript of the
                                                                    above-referenced deposition. Please read the         I
     5   that the deposition was reported in machine            5   transcript and signtheerrata pages. Any
     6   shorthand by me, that the said witness was duly        6   additions or coirections should be listed on the
     7   swom/affirmed by me, that the transcript was           7   errata sheets provided. Please remove the signed
     8   prepared by me or under my supervision and             8   completed errata sheets, and rehum them to the
     9   constitutes a complete and accurate record of same.    9   address listed above for processing.
    10                                                         10

             I further certify that I am not an attorney                    If this process has not been completed
    :2   or counsel of any panties, nor a relative or          12   within (30) thirty days Hom the date of this
    13   employee of any attorney or counsel connected with    13   letter, we will assume that the iight to read the    Ti
    14   the action, nor financially interestedin the          14   deposition has been waived. This is in accordance
    15   action.                                               15   with Rule 30(e) of the Federal Rules of Civil
    16                                                         16   Procedure and Rule 2-415 of the Maryland Rules of
    17                                                         17   Procedure.
    18                                                         18

    19           Christine Messner                             19

    20                                                         20

    21                                                         21

                                                                                                                         3
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     I        AL BETZ & ASSOCIATES, INC.                        l            READING & SIGNING PROCEDURE
     2          Administrative Offices                          2
     3             P.O. Box 665                                 3          The Deposition of Mark Carlson, taken in
     4        Westminster, Malyland 21158                       4   the matter, on the date, and at the time and place
     5     VOICE- (410)752-1733 FAX .. (410)875-2857            5   set out on the title page hereof.
     6     E-mail~ productiondept@albetzreporting.com           6          It was requested that the deposition be
     7          www.albetzreporting.com                         7   taken by the reporter and that same be reduced to
     8                                                          8   typewritten fonn.
     9   DATE: March 8, 2018                                    9          It was agreed by andbetweencounsel and
    10   JOB NUMBER: l80222key_(1)carison mark                 10   the parties that the Deponent will read and sign
         CASE CAPTION: Ciystal Long v. Pendrick Capital             the transcript of said deposition.
    12   COURT: US District Court, Distiict of Maryland        12                                                        4
                                                                                                                         4
    13   CASE NUMBER: 8: 17-cv-1955-GJH                        13

    14   DEPONENT: Mark Carlson                                14

    15   DATE OF DEPOSITION: Febnuary22, 2018                  IS

    16   ATTORNEYS/FIRMS:                                      16

    17    Ingmar Goldson, Esq. / The Goldson Law Office        17

    [8    RonaldM. Metcho, Esq. / Marshall Dennehey            18

    19                                                         [9

    20                                                         20

    21                                                         21                                                        3
l                                                                                                                        3
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          I             DEPOSITION ERRATA SHEET
          2   RE: AlBetz& Associates, Inc,
          J   FILE NO.: l80222key (l)c'irlson_mark
          4   CASE CAPTIONz Crystal Long v. Pendrick Capital
          5   DEPONENT: Mark Carlson
          6   DEPOSITION DATE' February22, 2018
          7          I have read the entire transcript of my
       a      Deposition taken in the captioned matter or the
       9      samehasbeen readto zne.Irequestthatthe
     10       changes noted on the following errata sheet be
              entered upon the record for the reasons indicated.
     12       lhave signed my name to the Errata Sheet and
      13      authorize you to attach it to thc original
     14       transcript.
      15      PAGE/LINE Cl-IANGE                    REASON
     16


     17


      is


     19


     20       SIGNATURE:                                   DATE:
I
     21             Mark Carlson


                                                             Page 39
      I       PAGE/LINE      CHANGE            REASON
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     20       SIGNATURE:                                  DATE:
     21               Mark C8rlson

                                                                                              .w   .



                                                 Al B e t z As s o c ia te s , In c
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